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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CATHY A. HARRIS, in her personal capacity :
and in her official capacity as Member of the :
Merit Systems Protection Board,               :
                                              :
       Plaintiff,                             :           Civil Action No.:      25-412 (RC)
                                              :
       v.                                     :           Re Document No.:       16
                                              :
SCOTT BESSENT, in his official capacity as :
Secretary of the Treasury, et al.,            :
                                              :
       Defendants.                            :

                                             ORDER

        DENYING DEFENDANTS’ MOTION TO STAY TEMPORARY RESTRAINING ORDER

       On February 18, 2025, this Court issued a temporary restraining order requiring

Defendants to reinstate Plaintiff Cathy A. Harris as Chairman of the Merit Systems Protection

Board. See Order Granting Mot. for Temporary Restraining Order, ECF No. 8. In its

accompanying memorandum opinion, the Court reasoned that Harris was likely to show both that

her termination violated a federal statute, and that the statute was constitutional under

Humphrey’s Executor v. United States, 295 U.S. 602 (1935). See generally Mem. Op. Granting

Mot. for Temporary Restraining Order (“Mem. Op.”), ECF No. 9. The Court additionally

reasoned that Harris would suffer irreparable harm absent injunctive relief, and that the equities

and public interest weighed in favor of a temporary restraining order. See id. Defendants now

move to stay the temporary restraining order. See Defs.’ Mot. to Stay Temporary Restraining

Order (“Defs.’ Mot.”), ECF No. 16.

       “[T]he factors regulating the issuance of a stay” include “(1) whether the stay applicant

has made a strong showing that he is likely to succeed on the merits; (2) whether the applicant
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will be irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure

the other parties interested in the proceeding; and (4) where the public interest lies.” Hilton v.

Braunskill, 481 U.S. 770, 776 (1987). As the Court discussed in its memorandum opinion,

Harris—not Defendants—has shown a likelihood of success on the merits. See Mem. Op. at 5–

11. Defendants do not establish irreparable harm flowing from the Government’s requirement to

follow the law, particularly one supported by at least ninety years of Supreme Court precedent.

See Defs.’ Mot. at 2 (arguing that the President’s inability to appoint a replacement constitutes

irreparable harm). The Court has likewise explained that the public interest and balance of the

equities weigh in favor of injunctive relief when the Government is asked to abide by federal

law. See Mem. Op. at 20. Staying the temporary restraining order would additionally

“substantially injure” Harris for the reasons the Court explained in its memorandum opinion.

Hilton, 481 U.S. at 776; see also Mem. Op. at 11–19. The Court thus finds a stay unwarranted

here, particularly given the parties’ compressed schedule for briefing on the merits of Harris’s

claims. See Joint Status Report, ECF No. 13 (stating parties’ agreement to consolidate

preliminary injunction with the merits under Federal Rule of Civil Procedure 65(a)(2)).

       For the foregoing reasons, it is hereby ORDERED that Defendants’ Motion to Stay

Temporary Restraining Order (ECF No. 16) is DENIED.

       SO ORDERED.


Dated: February 20, 2025                                            RUDOLPH CONTRERAS
                                                                    United States District Judge




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